      Case: 1:21-cv-00147-MPM-DAS Doc #: 3 Filed: 09/29/21 1 of 1 PageID #: 7




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                ABERDEEN DIVISION

BOBBY H. SMITH                                                                           PLAINTIFF

v.                                                 CIVIL ACTION NO. 1:21-cv-00147-SA-DAS

BANKERS LIFE AND CASUALTY COMPANY                                                 DEFENDANT

                                     ORDER OF RECUSAL

       The above styled and numbered case was assigned to United States District Judge Sharion

Aycock on September 29, 2021. Judge Aycock, on her own motion, hereby RECUSES herself

from this cause.

       It is hereby ORDERED that the Clerk of the Court is directed to transfer and re-assign this

cause to another United States District Judge in the Northern District of Mississippi.

       This, the 29th day of September, 2021.

                                                      /s/ Sharion Aycock
                                                     UNITED STATES DISTRICT JUDGE
